       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Commonwealth of Virginia
       v. Shawn Lynn Botkin
       Record No. 0458-17-3
       Opinion rendered by Judge Petty on
        October 24, 2017
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. James Willis Campbell, Jr.
   v. Commonwealth of Virginia
   Record No. 1404-15-3
   Opinion rendered by Senior Judge Clements
     on October 25, 2016
    Judgment of Court of Appeals reversed and final judgment entered reinstating
     appellant’s conviction by opinion rendered on December 14, 2017 (161676)

2. Sean Patrick Wolfe
   v. Commonwealth of Virginia
   Record No. 0058-16-4
   Opinion rendered by Judge O’Brien
     on December 13, 2016
   Refused (170097)

3. Abdul Lateef Salahuddin
   v. Commonwealth of Virginia
   Record No. 1874-15-2
   Opinion rendered by Judge Decker
    on January 31, 2017
   Refused (170294)

4. Arthur G. Kahn
   v. Eileen McNicholas
   Record No. 0982-16-4
   Opinion rendered by Judge Chafin
    on January 31, 2017
   Refused (170369)

5. Alfred Banks, Jr.
   v. Commonwealth of Virginia
   Record No. 2055-15-2
   Opinion rendered by Judge Decker
    on February 14, 2017
   Refused (170366)

6. Chezmin Brittany Suter
   v. Commonwealth of Virginia
   Record No. 1937-15-1
   Opinion rendered by Judge Humphreys
    on February 21, 2017
   Refused (170380)
7. Virginia Board of Medicine
   v. John Henry Hagmann, M.D.
   Record No. 1281-16-2
   Opinion rendered by Judge Decker
    on March 21, 2017
   Refused (170519)

8. Drew Tidwell
   v. Jennifer Late
   Record No. 1388-16-4
   Opinion rendered by Senior Judge Clements
    on May 30, 2017
   Dismissed pursuant to Code § 17.1-410(A)(3) and (B) (170857)
       The Supreme Court issued an opinion in the following case, which had been appealed from
this Court

    1. David Stanley James Pijor
       v. Commonwealth of Virginia
       Record No. 2065-15-4
       CAV petition for appeal denied by Judge Chafin on June 29, 2016
         and by Judges Humphreys, Decker and Russell on August 25, 2016
       Judgment of Court of Appeals affirmed by opinion rendered on December 28, 2017
       (161346)
